
ORDER
PER CURIAM:
Terry D. Washington pleaded guilty in the Circuit Court of Buchanan County to one count of driving while intoxicated as a persistent offender. The circuit court sentenced Washington to four years’ imprisonment. Washington filed a motion for postconviction relief under Supreme Court Rule 24.035. As relevant here, Washington’s motion alleged that his guilty plea was not knowing and voluntary, because his plea counsel erroneously promised Washington that he would be sentenced to thirty days in jail, and then placed on probation. The circuit court denied relief following an evidentiary hearing. Washington appeals. We affirm. Because a published opinion would have no precedential value, we have provided the parties an unpublished memorandum setting forth the reasons for this order. Rule 84.16(b).
